Case 2:24-cv-07426-JFW-BFM   Document 1-1   Filed 08/30/24   Page 1 of 17 Page ID
                                     #:8




                EXHIBIT 1
      Case 2:24-cv-07426-JFW-BFM                     Document 1-1            Filed 08/30/24          Page 2 of 17 Page ID
                                                             #:9




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 29468525
Notice of Service of Process                                                                            Date Processed: 07/10/2024

Primary Contact:           Christine DiDomizio
                           Jaguar Land Rover North America, LLC
                           100 Jaguar Land Rover Way
                           Mahwah, NJ 07495-1100

Electronic copy provided to:                   Ricardo Tapia
                                               Ramsey Ong
                                               Nadira Kirkland
                                               Patricia Bradley
                                               Agnes Wegiel
                                               Timothy Fleming

Entity:                                       Jaguar Land Rover North America, LLC
                                              Entity ID Number 3279821
Entity Served:                                Jaguar Land Rover North America, LLC
Title of Action:                              Marjorie Radley vs. Jaguar Land Rover North America, LLC
Matter Name/ID:                               Marjorie Radley vs. Jaguar Land Rover North America, LLC (15965205)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Breach of Warranty
Court/Agency:                                 Los Angeles County Superior Court, CA
Case/Reference No:                            24STCV16906
Jurisdiction Served:                          California
Date Served on CSC:                           07/10/2024
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           The Bravo Law Firm, Apc
                                              424-262-1000

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
   Case 2:24-cv-07426-JFW-BFM                              Document 1-1                 Filed 08/30/24              Page 3 of 17 Page ID
                                                                  #:10



                                           SUMMONS                                                                            FOR COURT USE ONLY
                                                                                                                          (SOLO PARA USO DE LA CORTE)
                                  (CITACION JUDICIAL)

NOTICE TO DEFENDANT:                                                                                                  ~ctronically FILED by
(AVISO AL DEMANDADO):                                                                                                 perior Court of California,
JAGUAR LAND ROVER NORTH AMERICA, LLC, a Delaware limited liability company; and                                       unty of Los Angeles
DOES 1 through 50, inclusive                                                                                          )912024 8:35 AM
                                                                                                                      vid W. Slayton,
YOU ARE BEING SUED BY PLAINTIFF:                                                                                      ecutive Officer/Clerk of Court,
(LO ESTA DEMANDANDO EL DEMANDANTE):                                                                                    Y. Ayala, Deputy Clerk

MARJORIE RADLEY, an individual

                                              may decide against you witnout your                        you respond within 30 days. Read the information
 Deiow.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
 court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
 be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhe1pcalifornia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 iAVISO! Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su versidn. Lea la informacidn a

    Tiene 30 D(AS DE CALENDARIO despues de que le entreguen esta citacidn y papeles legales para presentar una respuesta por escrito en esta
 corte y hacer que se entregue una copia al demandante. Una carta o una Ilamada telef6nica no lo protegen. Su respuesta por escrito tiene que estar
 en formato /ega/ correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de la corte y mas informacidn en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
 biblioteca de leyes de su condado o en la corte que le quede mas cerca. Si no puede pagarla cuota de presentaci6n, pida al secretario de la corte que
 le de un formulario de exencidn de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podra
 quitar su sueldo, dinero y bienes sin mas advertencia.
    Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
 remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
 programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
 (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la corte o el
 colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualquierrecuperacion de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
The name and address of the court is: LOS ANGELES SUPERIOR COURT                                       CASE NUMBER: (Nfimero del Caso):
(El nombre y direccidn de la corte es): 111 N. HILL STREET                                              ~~~         T ~.~
                                                                                                                               /
                                               LOS ANGELES, CA 90012


The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: (El nombre, la direcci6n y el nGmero
de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
Nicholas A. Bravo, Esq., THE BRAVO LAW FIRM, APC 1050 W. Alameda Ave., Ste 499, Burbank, CA 91506, T: 424-262-1000
                                                                                        David W. Slayton, Executive OfficerlClerk of Court
DATE:                                                                         Clerk, by                   Y. A,~ala                        , Deputy
                                                                                                                                               p y
(Fecha) 07~09~202~                                                            (Secretario)                                                 (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010).)
                                      NOTICE TO THE PERSON SERVED: You are served
                                      1.   O      as an individual defendant.
                                      2.          as the person sued under the fictitious name of (specify):

                                      3.   XD on behalf of (specify): JAGUAR LAND ROVER NORTH AMERICA, LLC, a Delaware limited liability company

                                           under: 0       CCP 416.10 (corporation)                          [jjjjjjjjj] CCP 416.60 (minor)
                                                          CCP 416.20 (defunct corporation)                  ]jjjjjjjjjj] CCP 416.70 (conservatee)
                                                          CCP 416.40 (association or partnership)                  CCP 416.90 (authorized person)
                                                    X
                                                   jjjjjj other (specify): limited liability company
                                      4.   0      by personal delivery on (date)                                                                        Paae 1
Form Adopled for Mandatory Use
Judicial Council of California
                                                                      SUMMONS                                                 Code of Civil Procedure §§ 412.20. 465
                                                                                                                                                  www.courts.ca.gov
SUM-100 [Rev. July 1, 2009]

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This Form button after you have printed the form.   j             Print this form          Save this form                               Clear this form
Case 2:24-cv-07426-JFW-BFM               Document 1-1      Filed 08/30/24       Page 4 of 17 Page ID
                                                #:11




                                                                          Electronically FILED by
   1    Nicholas A. Bravo, Esq. (SBN 264299)                              Superior Court of Caiifornia,
        THE BRAVO LAW FIRM, APC                                           County of Los Angeles
   2                                                                      7/09/2024 8:35 AM
        Mailing Address:                                                  David W. Slayton,
        1050 W. Alameda Ave., Ste 499                                     Executive Officer/Clerk of Court,
   3                                                                      By Y. Ayala, Deputy Clerk
        Burbank, CA 91506
   4    T: 424-262-1000
        E: nicholasC~nicholasbravo.com
   5
        Attorneys for Plaintiff,
   6
        MARJORIE RADLEY
   7

   8                        SUPERIOR COURT OF THE STATE OF CALIFORNIA

   9                                LOS ANGELES COUNTY - UNLIMITED CIVIL
  10
  11   MARJORIE RADLEY, an individual,                    CASENO. 24STCV                 1 iE9OlEi

  12                                                      COMPLAINT FOR DAMAGES
                       Plaintiff,
  13                                                      1. BREACH OF IMPLIED WARRANTY OF
              ~                                           MERCHANTABILITY;
  14                                                      2. BREACH OF EXPRESS WARRANTY;
  15   JAGUAR LAND ROVER NORTH AMERICA,                   3. VIOLATION OF THE SONG-BEVERLY
       LLC, a Delaware limited liability company;         CONSUMER WARRANTY ACT
  16   and DOES 1 through 50, inclusive,
  17                   Defendants.
                                                          [JURY TRIAL DEMANDED]
  18
  19              Comes now Plaintiff MARJORIE RADLEY ("Plaintiff'), an individual, whom alleges
  20    and complains as follows:
  21                                            THE PARTIES
  22           1.      Plaintiff is an individual, and as set forth herein, at the relevant times was
  23
        located in the State of California.
  24                   Defendant JAGUAR LAND ROVER NORTH AMERICA, LLC
                  2.
  25    ("Manufacturer"), is a Delaware limited liability company, doing business in the County
  26    of LOS ANGELES, California, and at all times relevant was and is engaged in the
  27
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                                          COMPLAINT FOR DAMAGES
Case 2:24-cv-07426-JFW-BFM           Document 1-1         Filed 08/30/24      Page 5 of 17 Page ID
                                            #:12




   1 l manufacture, sale, and distribution of LAND ROVER RANGE ROVER and related
   2 l equipment.
   3          3.     JAGUAR LAND ROVER LOS ANGELES ("Dealer'), at all times relevant was
   4   and is engaged in the sale, and service/repair of JLRNA VEHICLES and related
   5   equipment.

   6          4.     The true names and capacities, whether individual, corporate, associate,
   7   representative or otherwise, of the DOE Defendants are unknown to Plaintiff at this

   8   time, who therefore sues said defendants by such fictitious names. Plaintiff will amend

   9   this complaint to allege their true names and capacities once the same have been
  10   ascertained. Plaintiff is informed and believes, and based upon such information and
  11   belief alleges, that each of the fictitiously named DOE Defendant is responsible in some
  12   manner, way, or form, and to some extent for acts, events, breaches and occurrences
  13   hereinafter alleged, and that Plaintiffs damages as hereinafter alleged were proximately
  14   caused by their conduct. Wherever appearing in this complaint, each and every
  15   reference to "Defendants" is intended and shall be a reference to all Defendants in this
  16   action, and each of them, including all fictitiously named DOE defendants.
  17                BACKGROUND FACTS APPLICABLE TO ALL CAUSES OF ACTION
  18          5.     On or before February 20, 2021, defendant Manufacturer and DOES 1
  19   through 50 inclusive, manufactured and/or distributed into the stream of commerce a
  20   2017 LAND ROVER RANGE ROVER SPORT, VIN# XXX XXX 125208 (herein after
  21   referred to as the "Vehicle") for its eventual sale/lease in the State of California,
  22   complete with Manufacturer issued warranties, both written and implied and/or
  23   statutory.
  24          6.     On or about February 20, 2021, Plaintiff acquired the Subject Vehicle from
  25   licensed California dealer of automobiles ("Dealer") and, on information and belief, an
  26   authorized dealer of GM/GMC vehicles.
  27
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                                                2
                                      COMPLAINT FOR DAMAGES
Case 2:24-cv-07426-JFW-BFM          Document 1-1        Filed 08/30/24      Page 6 of 17 Page ID
                                           #:13




   1           7.    The subject Vehicle was/is a"new motor vehicle" under the Song-Beverly
   2    Warranty Act and/or Civil Code section 1793.22(e)(2), and/or is a"certified pre-owned"
   3 II vehicle.
   4           8.    On information and belief, it is herein alleged that Manufacturer and/or
   5    Dealer issued written warranties and other express and implied warranties for the

   6    Vehicle including, but not limited to, warranties that the Vehicle and its components

   7    would be free from all defects in material and workmanship; that the Vehicle would
   8    pass without objection in the trade under the contract description; that the Vehicle

   9    would be fit for the ordinary purposes for which it was intended; that the Vehicle would
  10    conform to the promises and affirmations of fact made; that Defendants, and each of
  11    them, would perform any repairs, alignments, adjustments, and/or replacements of any
  12    parts necessary to ensure that the Vehicle was free from any defects in material and
  13   workmanship; that Defendants, and each of them, would maintain the utility of the
  14   Vehicle for 4 years/50,000 miles and 4 years/50,000 miles for powertrain, restraint
  15    defects, and would conform the Vehicle to the applicable express warranties; and/or an
  16   additional 2 year/100,000 mile certified used car warranty.
  17           9.    Plaintiff has duly performed all the conditions required of Plaintiff except
  18   insofar as the acts and/or omissions of the Defendants, and each of them, as alleged
  19   herein, prevented and/or excused such performance.

  20           10.   Since having taken possession of the Subject Vehicle, Plaintiff has
  21   presented the vehicle for warrantable non-conformities/defects substantially affecting
  22   the use, value and safety of the vehicle on either multiple occasions; or where the
  23   Vehicle was out of service by reason of repair for a cumulative total of more than 30
  24   calendar days since delivery of the vehicle within the first 18 months or 18,000 miles
  25   entitling it to a presumption that a reasonable number of attempts has been made to
  26   conform the vehicle to the warranty (Civ. Code § 1793.22); or was not serviced or
  27   repaired so as to conform the vehicle to the applicable warranties within 30-days.
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                                               3
                                     COMPLAINT FOR DAMAGES
Case 2:24-cv-07426-JFW-BFM              Document 1-1        Filed 08/30/24     Page 7 of 17 Page ID
                                               #:14




   1           11.       Repair 0rders/Invoices/ and/or warrantable repair history are in the
   2    possession of Defendants.
   3           12.       Plaintiff has made a pre-litigation demand to Defendants to provide
   4    statutory restitution and rejection of the goods and/or Defendant Manufacturer has
   5    failed to perform its affirmative duty to "promptly" repurchase or replace Plaintiffs
   6    Vehicle and provide restitution to Plaintiff, without condition(s) and without arbitrary
   7    deduction of damages which are recoverable by law. Krotin v. Porsche Cars North
   8    America, Inc. (1995) 38 Ca1.App.4th 294, 302-303. As a result, Plaintiff is entitled to a

   9    civil penalty.
  10           13.       Plaintiff seeks damages from Defendants, and each of them, as allowed by
  11    statute and/or for incidental, consequential, and actual damages including interest,
  12    costs, and actual attorneys' fees.
  13                                       FIRST CAUSE OF ACTION
  14                     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
  15                                       (Against all Defendants)
  16           14.       Plaintiff incorporates each of the preceding paragraphs as if though fully
  17 I set forth herein.
  18           15.       The distribution of the Vehicle was accompanied by the Manufacturer and
  19    Dealer's implied warranty that the Vehicle was merchantable, pursuant to California

  20    law.
  21           16.       Furthermore, Defendants, and each of them, impliedly warranted, inter
  22    alia, that the Vehicle would pass without objection in the trade; that the Vehicle was fit
  23    for the ordinary purposes for which it was intended; that the Vehicle was adequately
  24    assembled; and/or that the Vehicle conformed to the promises or affirmations of fact
  25    made to Plaintiff.
  26           •17.      As evidenced by the defects, malfunctions, misadjustments, and/or
  27    nonconformities alleged herein, the Vehicle was not merchantable because it did not
  28    have the quality that a buyer would reasonably expect, because it could not pass

                                                   4
                                         COMPLAINT FOR DAMAGES
Case 2:24-cv-07426-JFW-BFM           Document 1-1        Filed 08/30/24     Page 8 of 17 Page ID
                                            #:15




   1   without objection in the trade; because it was not fit for the ordinary purposes for which
   2   it was intended; because it was not adequately assembled; and/or because it did not or
   3   could not be conformed to the promises or affirmations of fact made to Plaintiff.
   4          18.    Upon discovery of the Vehicle's nonconformities, Plaintiff took reasonable
   5   steps to notify Defendants, and each of them, within a reasonable time that the Vehicle
   6   did not have the quality that a buyer would reasonably expect and, further, justifiably
   7   revoked acceptance of the nonconforming Vehicle.
   8          19.    Plaintiff has previously, and hereby does give written notice and justifiably
   9   revokes acceptance of the nonconforming Vehicle under the Commercial Code sections
  10   2607 and 2608. Plaintiff further demands that the Manufacturer cancel the sale, take
  11   back the nonconforming Vehicle, refund all the money expended, and/or pay the
  12   difference between the value of the Vehicle as accepted and the value the Vehicle would
  13   have had if it had been as warranted, and/or pay damages under the Commercial Code
  14   sections 2711, 2714, and 2715. Defendants, and each of them, have, however, refused to
  15   comply.
  16          20.    Plaintiff hereby gives written notice and makes demand upon
  17   Manufacturer and Dealer for replacement or restitution, pursuant to Song-
  18   Beverly. Defendants, and each of them, knew of their obligations under Song-Beverly;
  19   however, despite Plaintiffs demand, Defendants and each of them, have intentionally
  20   failed and refused to make restitution or replacement pursuant to Song-Beverly.
  21          21.    As a result of the acts and/or omissions of the Defendants, and each of
  22   them, Plaintiff has sustained damage in the amount actually paid or payable, plus
  23   prejudgment interest thereon at the legal rate.
  24          22.   As a further result of the actions of Defendants, and each of them, Plaintiff
  25   has sustained incidental and consequential damages in an amount yet to be determined,
  26   plus interest thereon at the legal rate.
  27
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                                                5
                                      COMPLAINT F0R DAMAGES
Case 2:24-cv-07426-JFW-BFM            Document 1-1        Filed 08/30/24       Page 9 of 17 Page ID
                                             #:16




   1            23.   As a further result of the actions of Defendants, and each of them, Plaintiff
   2    has sustained damages equal to the difference between the value of the Vehicle as
   3    accepted and the value the Vehicle would have had if it had been as warranted.
   4            24.   As a direct result of the acts and/or omissions of Defendants, and each of
   5    them, and in pursuing Plaintiff s claim, it was necessary for Plaintiff to retain legal
   6    counsel. Pursuant to Song-Beverly, Plaintiff, in addition to other remedies, is entitled to
   7    the recovery of her attorneys' fees based upon actual time expended and reasonably
   8    incurred, in connection with the commencement and prosecution of this action.

   9            25.   The failure of Defendants, and each of them, comply with its statutory
  10    obligations and/or to refund the price paid and payable or to replace the Vehicle was
  11    intentional and, to the extent allowed by law, justifies an award of a Civil Penalty in an
  12    amount not to exceed two times PlaintifPs actual damages.
  13                                   SECOND CAUSE OF ACTION
  14                                BREACH OF EXPRESS WARRANTY
  15                                     (Against all Defendants)
  16            26.   Plaintiff incorporates each of the preceding paragraphs as if though fully
  17 I set forth herein.
  18            27.   The Vehicle had defects, malfunctions, misadjustments, and/or
  19    nonconformities covered by the warranty(ies) that substantially impaired its value, use,
  20    or safety to Plaintiff.
  21            28.   Plaintiff delivered the Vehicle to Manufacturer or its authorized repair
  22    facilities Defendants, and each of them, failed to service or repair the Vehicle to match
  23    the written warranty after a reasonable number of opportunities to do so.
  24           29.    The acts and/or omissions of Defendants, and each of them, in failing to
  25    perform the proper repairs, part replacements, and/or adjustments, to conform the
  26   Vehicle to the applicable express warranties constitute a breach of the express
  27   warranties that the Manufacturer provided to Plaintiff, thereby breaching Defendants'
  28    obligations under the written warranty.

                                                 6
                                       COMPLAINT FOR DAMAGES
Case 2:24-cv-07426-JFW-BFM           Document 1-1         Filed 08/30/24      Page 10 of 17 Page
                                          ID #:17




   1          30.    Defendants, and each of them, failed to perform the necessary repairs
   2   and/or service in good and workmanlike manner. The actions taken by Defendants, and
   3   each of them, were insufficient to make the Subject Vehicle conform to the express
   4   warranties and/or proper operational characteristics of like Vehicles, all in violation of
   5   Defendants' obligations under the written warranty as well as, including but not limited

   6   to, under the Song-Beverly Warranty Act.
   7          31.    Plaintiff hereby gives written notice and makes demand upon

   8   Manufacturer and Dealer for replacement or restitution. Defendants, and each of them,

   9   knowing their obligations, and despite Plaintiffs demand, failed and refused to make
  10   restitution or replacement. The failure of Defendants, and each of them, comply with its
  11   statutory obligations and/or to refund the price paid and payable or to replace the
  12   Vehicle was intentional and justifies an award of a Civil Penalty in an amount not to
  13   exceed two times Plaintiff's actual damages.
  14          32.   As a result of the acts and/or omissions of Defendants, and each of them,
  15   and pursuant to the provisions of the written warranty, Plaintiff is entitled to
  16   replacement of the Vehicle or restitution of the amount actually paid or payable, at
 17    Plaintiff's election, plus prejudgment interest thereon at the legal rate.

 18           33.   Additionally, as a result of the acts and/or omissions of Defendants, and
 19    each of them, Plaintiff has sustained and is entitled to consequential and incidental

 20    damages in amounts yet to be determined, plus interest thereon at the legal rate.
 21           34.   As a direct result of the acts and/or omissions of Defendants, and each of
 22    them, and in pursuing Plaintiffs claim, it was necessary for Plaintiff to retain legal
 23    counsel. Plaintiff, in addition to other remedies, is entitled to the recovery of her
 24    attorneys' fees based upon actual time expended and reasonably incurred, in connection
 25    with the commencement and prosecution of this action.
 26           35.   The failure of Defendants, and each of them, comply with its statutory
 27    obligations and/or to refund the price paid and payable or to replace the Vehicle was
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                                                7
                                      COMPLAINT FOR DAMAGES
Case 2:24-cv-07426-JFW-BFM          Document 1-1        Filed 08/30/24      Page 11 of 17 Page
                                         ID #:18




  1   intentional and justifies an award of a Civil Penalty in an amount not to exceed two
  2   times Plaintiff's actual damages.
  3                                   THIRD CAUSE OF ACTION
  4                       BREACH OF THE SONG-BEVERLY WARRANTY ACT
  5                                    (Against all Defendants)
  6          36.    Plaintiff incorporates each of the preceding paragraphs as if though fully
  7   set forth herein.

  8          37.    The Vehicle had defects, malfunctions, misadjustments, and/or
  9   nonconformities covered by the warranty(ies) that substantially impaired its value, use,
 10   or safety to Plaintiff.
 11          38.    Since having taken possession of the Subject Vehicle, Plaintiff has
 12   presented the vehicle for warrantable non-conformities/defects substantially affecting
 13   the use, value and safety of the vehicle on either multiple occasions; or where the
 14   Vehicle was out of service by reason of repair for a cumulative total of more than 30
 15   calendar days since delivery of the vehicle within the first 18 months or 18,000 miles
 16   entitling it to a presumption that a reasonable number of attempts has been made to

 17   conform the vehicle to the warranty (Civ. Code § 1793.22); or was not serviced or

 18   repaired so as to conform the vehicle to the applicable warranties within 30-days.
 19          39.    The acts and/or omissions of Defendants, and each of them, in failing to

 20   perform the proper repairs, part replacements, and/or adjustments, to conform the
 21   Vehicle to the applicable express warranties constitute a breach of the express
 22   warranties that the Manufacturer provided to Plaintiff, thereby breaching Defendants'
 23   obligations under Song-Beverly.
 24          40.    Defendants, and each of them, failed to perform the necessary repairs
 25   and/or service in good and workmanlike manner. The actions taken by Defendants, and
 26   each of them, were insufficient to make the Subject Vehicle conform to the express
 27   warranties and/or proper operational characteristics of like Vehicles, all in violation of
 28

                                              ~
                                              -
                                    COMPLAINT FOR DAMAGES
Case 2:24-cv-07426-JFW-BFM           Document 1-1        Filed 08/30/24       Page 12 of 17 Page
                                          ID #:19




  1    Defendants' obligations including but not limited to under the Song-Beverly Warranty
  2 II Act.
  3           41.   Plaintiff hereby gives written notice and makes deman.d upon
  4    Manufacturer and Dealer for replacement or restitution, pursuant to Song-
  5    Beverly. Defendants, and each of them, knowing their obligations under Song-Beverly,

  6    and despite Plaintiffs demand, failed and refused to make restitution or replacement
  7    according to the mandates of Song-Beverly. The failure of Defendants, and each of them,
  8    comply with its statutory obligations and/or to refund the price paid and payable or to

  9    replace the Vehicle was intentional and justifies an award of a Civil Penalty in an amount
 10    not to exceed two times Plaintiffs actual damages.
 11           42.   As a result of the acts and/or omissions of Defendants, and each of them,
 12    and pursuant to the provisions of the Song-Beverly, Plaintiff is entitled to replacement
 13    of the Vehicle or restitution of the amount actually paid or payable, at Plaintiffs election,
 14    plus prejudgment interest thereon at the legal rate.
 15           43.   Additionally, as a result of the acts and/or omissions of Defendants, and
 16    each of them, and pursuant to Song-Beverly, Plaintiff has sustained and is entitled to
 17    consequential and incidental damages in amounts yet to be determined, plus interest
 18   thereon at the legal rate.
 19           44.   As a direct result of the acts and/or omissions of Defendants, and each of
 20   them, and in pursuing Plaintiff s claim, it was necessary for Plaintiff to retain legal
 21   counsel. Pursuant to Song-Beverly, Plaintiff, in addition to other remedies, is entitled to
 22   the recovery of her attorneys' fees based upon actual time expended and reasonably
 23   incurred, in connection with the commencement and prosecution of this action.
 24           45.   The failure of Defendants, and each of them, comply with its statutory
 25   obligations and/or to refund the price paid and payable or to replace the Vehicle was
 26   intentional and justifies an award of a Civil Penalty in an amount not to exceed two
 27   times Plaintiffs actual damages.
 28                                      PRAYER FOR RELIEF

                                               9
                                     COMPLAINT FOR DAMAGES
Case 2:24-cv-07426-JFW-BFM           Document 1-1         Filed 08/30/24     Page 13 of 17 Page
                                          ID #:20




  1           WHEREFORE, Plaintiff prays for judgment against Defendants, and each of them,
  2   jointly and severally, as follows, on all causes of action:
  3   FOR THE FIRST AND SECOND AND THIRD CAUSES OF ACTION
  4           1.    For replacement or restitution, at Plaintiff's election, according to proof;
  5           2.    For incidental damages, according to proof;
  6           3.    For consequential damages, according to proof;
  7           4.    For a civil penalty as provided in Song-Beverly, in an amount not to exceed
  8   two times the amount of Plaintiffs actual damages;

  9           5.    For actual attorney's fees, reasonably incurred;
 10           6.    For costs of suit and expenses, according to proof;
 11           7.    For the difference between the value of the Vehicle as accepted and the
 12   value the Vehicle would have had if it had been as warranted;
 13           8.    For remedies provided in Chapters 6 and 7 of Division 2 of the Commercial
 14   Code;
 15           9.    For pre-judgment interest at the legal rate for all liquidated sums;
 16           10.   Such other relief the Court deems appropriate.
 17   Dated: July 9, 2024                 THE BRAVO LAW FIRM, APC
 18
 19
                                          BY:
 20                                       NICHOLAS BRAVO, Esq.
                                          Attorneysfor Plaintiff, MARJORIE RADLEY
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                                     COMPLAINT FOR DAMAGES
   Case 2:24-cv-07426-JFW-BFM                        Document 1-1         Filed 08/30/24        Page 14 of 17 Page
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                                Superior
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                                    ALTERNATIVE DISPUTË RESOLUTION (ADR)
                                           INFORMATION PACKAGE
   THE PLAINTIFF MUST SERVE THIS ADR: INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

   CROSS-COMPLAINANTS must se"rve this ADR Information Package on any new parties named to the action with the
   cross-complaint.




What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   •   Saves Time: ADR is faster than going to trial.
   •   Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
   •   Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   •   Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
    •  Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
    •  No Public Trial: ADR does not provide a public trial or decision by a judge orjury.

Main Types of ADR
   1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with
       a settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

    2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
       strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
       acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                       Mediation may be appropriate when the parties
                         •    want to work out a solution but need help from a neutral person.
                         •    have communication problems or strong emotions that interfere with resolution.

                       Mediation may not be appropriate when the parties
                         •    want a public trial and want a judge or jury to decide the outcome.
                         •    lack equal bargaining power or have a history of physical/emotional abuse.




LASC CIV 271 Rev. 03/23                                                                                           Page 1 of 2
For Mandatory Use
Case 2:24-cv-07426-JFW-BFM                 Document 1-1           Filed 08/30/24          Page 15 of 17 Page
                                                ID #:22



                            How to Arrange Mediation in Los Angeles County

  Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

      a.   The Civil Mediation Vendor Resource List
           If all parties in an active civil case agree to mediation, they may contact these organizations to
           request a "Resource List Mediation" for mediation at reduced cost or no cost (for selected
           cases).

               ADR Services, Inc. Assistant Case Manager Janet Solis, janet@adrservices.com
               (213) 683-1600
               Mediation Center of Los Angeles Program Manager info@mediationLA.org
               (833) 476-9145

           These organizations cannot accept every case and they may decline cases at their discretion.
           They may offer online mediation by video conference for cases they accept. Before contacting
           these organizations, review important information and FAQs at www.lacourt.org/ADR.Res.List

           NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate,
           or small claims cases.

           Los Angeles County Dispute Resolution Programs. Los Angeles County-funded agencies provide
           mediation services on the day of hearings in small claims, unlawful detainer (eviction), civil
           harassment, and limited civil (collections and non-collection) cases.
           https://dcba.lacounty.gov/countywidedrp/

           Online Dispute Resolution (ODR). Parties in small claims and unlawful detainer (eviction) cases
           should carefully review the Notice and other information they may receive about (ODR)
           requirements for their case. https://my.lacourt.org/odr/

      c.   Mediators and ADR and Bar organizations that provide mediation may be found on the internet.

  3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
     arguments to the person who decides the outcome. In "binding" arbitration, the arbitrator's
     decision is final; there is no right to trial. In "nonbinding" arbitration, any party can request a trial
     after the arbitrator's decision. For more information about arbitration, visit
     https://www.courts.ca.gov/programs-adr.htm

  4. Mandatory Settlement Conferences (MSC): MSCs are ordered by the Court and are often held close
     to the trial date or on the day of trial. The parties and their attorneys meet with a judge or
     settlement officer who does not make a decision but who instead assists the parties in evaluating
     the strengths and weaknesses of the case and in negotiating a settlement. For information about
     the Court's MSC programs for civil cases, visit https://www.lacourt.org/division/civil/C10047.aspx

  Los Angeles Superior Court ADR website: https://www.lacourt.org/division/civil/CI0109.aspx
  For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm




  LASC CIV 271 Rev. 03/23                                                                            Page 2 of 2
  For Mandatory Use
     Case 2:24-cv-07426-JFW-BFM                      Document 1-1         Filed 08/30/24           Page 16 of 17 Page
                                                          ID #:23

                                                                                               Reserved for Clerk's File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
                                                                                                          FILED
 Stanley Mosk Courthouse                                                                       Super Court ❑t c.nliturnia
 111 North Hill Street, Los Angeles, CA 90012                                                    Countyaf tu~Angu~s
                                                                                                     O7/09(2024
                       NOTICE OF CASE ASSIGNMENT
                                                                                                          Y. Ayata               tu,tty
                           UNLIMITED CIVIL CASE

                                                                                CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 24STCV16906

                            THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT      ROOM                  ASSIGNED JUDGE                     DEPT         ROOM
    ✓     Timothy Patrick Dillon            73




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   David W. Slayton, Executive Officer / Clerk of Court
    on 07/09/2024                                                        By Y. Ayala                                         , Deputy Clerk
                  (Date)
LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
     Case 2:24-cv-07426-JFW-BFM                       Document 1-1              Filed 08/30/24           Page 17 of 17 Page
                                                           ID #:24

                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A cliallenge under Code of Civil Procedure Section 170.6 must be made witliin 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: altemative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instiuctions, special juiy instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Supeiior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all puiposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supeivising Judge of complex litigation for detetYnination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
